Case 4:22-cv-03091   Document 26-4   Filed on 03/27/23 in TXSD   Page 1 of 19




                                EXHIBIT 10
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 1Page
                                                                  of 172 of 19




                                                            1:23-cv-129-LY
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 2Page
                                                                  of 173 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 3Page
                                                                  of 174 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 4Page
                                                                  of 175 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 5Page
                                                                  of 176 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 6Page
                                                                  of 177 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 7Page
                                                                  of 178 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 8Page
                                                                  of 179 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     DocumentDocument
                              26-4 Filed
                                      8-1 onFiled
                                             03/27/23
                                                  02/17/23
                                                       in TXSD
                                                            Page 9Page
                                                                   of 1710 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 10
                                                                 Page
                                                                   of 17
                                                                       11 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 11
                                                                 Page
                                                                   of 17
                                                                       12 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 12
                                                                 Page
                                                                   of 17
                                                                       13 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 13
                                                                 Page
                                                                   of 17
                                                                       14 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 14
                                                                 Page
                                                                   of 17
                                                                       15 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 15
                                                                 Page
                                                                   of 17
                                                                       16 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 16
                                                                 Page
                                                                   of 17
                                                                       17 of 19
Case 4:22-cv-03091
      Case 1:23-cv-00129-LY
                     Document
                            Document
                              26-4 Filed
                                     8-1 on
                                          Filed
                                            03/27/23
                                                02/17/23
                                                      in TXSD
                                                           Page 17
                                                                 Page
                                                                   of 17
                                                                       18 of 19
DocuSign Envelope ID: 28A26971-01CE-4919-9642-CB5AA37314A8
              Case 4:22-cv-03091
                     Case 1:23-cv-00129-LY
                                   DocumentDocument
                                           26-4 Filed
                                                    8-5onFiled
                                                          03/27/23
                                                               02/17/23
                                                                   in TXSD
                                                                        Page Page
                                                                             1 of 119 of 19

                                                                                                      Exhibit C
             2110 Speedway, B6600 • CBA 6.222 • Austin, TX 78712-1270 • 512-471-4368 • www.mccombs.utexas.edu




                                                             MEMORANDUM


             DATE:             September 19, 2022

             TO:               Ethan Burris
                               Senior Associate Dean for Academic Affairs

             VIA:              Sheridan Titman
                               Chair, Department of Finance

             FROM:             Carlos Carvalho
                               Executive Director for the Salem Center for Policy

             RE:               Administrative Program Director for the Salem Center for Policy


             This memo confirms that Dr. Lowery will support the Salem Center of Policy (SCP) as the
             Administrative Program Director in 2022-23. This is a renewable annual arrangement at 0% time
             with an annual stipend of $20,000 subject to the availability of funds and the needs of the Salem
             Center for Policy.


             Dr. Lowery will work as a general advisor for the SCP and helps in the coordination of our
             academic programs. One of his primary jobs will be to oversee the Policy Research Lab,
             essentially supervising our postdoctoral fellows. He will also oversee our soon to be launched
             undergraduate fellowship on “Markets”, a program that will provide students with co-curricular
             programming on the history and role of Free Markets in business and society.

                                                          Approved By:




                                                                                    2022-09-21 | 16:35:22 PDT
                                                          Ethan Burris

                                                          Professor and Chair of Management
